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Cliff (00:04):
[inaudible 00:00:04]?

Jeff Lowe (00:05):
Yeah, hey, Cliff, this is Jeff Lowe.

Cliff (00:08):
Hey, Jeff, how are you, sir?

Jeff Lowe (00:09):
Not too bad. How you doing?

Cliff (00:09):
Pretty good.

Jeff Lowe (00:09):
What's up?

Cliff (00:14):
I was wondering if I could meet up with you and discuss some stuff you was looking for there on
Facebook, looking for something buried back there or whatever.

Jeff Lowe (00:22):
Oh yeah.

Cliff (00:26):
I don't know if you remember me. I met you once before when I think you first got here, if you're the
same person, down at the RV park. Went in over there, and I came up looking to do some dirt work and
stuff.

Jeff Lowe (00:36):
Yeah?

Cliff (00:39):
Well, at one point in time of us working there, we used to do a lot of work up there and stuff. And I
noticed the other day on Facebook that you were looking for something that's been buried back there.
And whenever we were up there doing 'dozer work one time, the last thing the operator did before he
left was cover up a big... there was another. And I don't know if that one, that might help you or not.

Jeff Lowe (01:03):
Yeah, you never know, because you know that chick that got her arm ripped off up there? Do you
remember that?



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Cliff (01:09):
Man, something about it, yeah.

Jeff Lowe (01:13):
She's this drunken party chick, all right? And over the last few years, she's been to three different
parties, and then went on a road trip with one of my... actually, the Joe tried to hire [inaudible
00:01:28]. And when she gets fucked up, she starts running her mouth. And she's told the same story to
four different people, who have all come to me individually and said, "Look, this woman claims that her
and John Finley were sitting out in the back 40 back there, and one night getting drunk and smoking
weed, and they caught two PETA people climbing over the fence." So John Finley pulled a gun out and
shot them. He killed one and wounded the other. And she says when he went over to finish off the other
one, he started puking, that he couldn't do it, so she took the gun and she shot the guy. And then they
get ahold of Joe and they say, "What the fuck do we do?" And he said, "Just put them in a tire back there
and burn them."

Cliff (02:14):
Well, I don't know when that was supposed to happen. But this has been... I was talking to my operator
about it when I saw it, but I'm talking tiger skulls for tigers and stuff, is what I was talking about.

Jeff Lowe (02:26):
Well, he's probably-

Lauren Lowe (02:27):
It's probably all mixed in.

Jeff Lowe (02:29):
It would all be mixed in, because I don't know how much of a human body would burn in one of those
big tires, but probably quite a bit.

Cliff (02:36):
Well, I just know that I remember my operator come and tell me, "I know you were talking about
looking for a spot where some tigers might have been, some dead tigers were buried or something."

Jeff Lowe (02:48):
Yeah.

Cliff (02:48):
And I remember my operator come to me, because whenever we moved the 'dozer back, he was like,
"God dang it, these things." And he was like, "Yeah, I have to push that [inaudible 00:02:54] in with all
those dead animals in it." And I said, "Oh really? Okay. I know there was a tiger skull in there." I asked
him if he might have it. And he said, "Under federal law, when something dies, it has to be buried here,
not to leave the premises." And I didn't think nothing about it [inaudible 00:02:58].

Jeff Lowe (02:58):


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That's a lie. He could've given it to you if you were a resident of Oklahoma. You can't cross state lies with
it, but you could've-

Cliff (03:18):
Well, I thought you all were looking for somewhere that the tigers or something were buried.

Lauren Lowe (03:23):
That helps too.

Cliff (03:24):
I told my operator, I said, "I hate to... I mean, if I know something is helpful, I hate not to do it."

Jeff Lowe (03:34):
Yeah. Well, let me-

Cliff (03:35):
[crosstalk 00:03:35] know anything about humans. But I know that there was tigers there.

Jeff Lowe (03:37):
Yeah. Because OSBI has been out there, just probably Joe claiming that they have been. They came out
there with Sheriff Rose and the [Garber 00:03:46] County Sheriff.

Lauren Lowe (03:46):
And Fish and Wildlife.

Jeff Lowe (03:46):
And Fish and Wildlife. They found the first tigers. That's what he got convicted on, killing the first five.

Cliff (03:52):
He may have already found them. But this was up by the part where we were working.

Jeff Lowe (03:59):
Huh. Well, they found the five back there because they got hold of the kid who buried them, who
worked there. And he led them right to them. And then all this information now on the bodies has come
out since Joe was convicted. So it's all new leads for them. But they're kind of waiting, because he gets
sentenced here in a couple weeks. They're waiting to see if the judge nails him for 20 or 30 years. That's
a life sentence for him anyway. Because it's going to cost him $100,000.

Cliff (04:34):
Where this was, [inaudible 00:04:36] my operator said he could probably could walk back there. But he
seems to think that there's some enclosures built there, because that was what Joe said they were going
to build there whenever they leveled it off, build some enclosures. But if I remember, now I'm talking
back, this is in 2014 or so, way back there. But if I remember right, when you go past the front of them



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houses back there and around that metal building, I think there was a camel or something in there for a
while.

Jeff Lowe (05:04):
Yeah. [crosstalk 00:05:05]

Cliff (05:06):
You go back to another gate, and there's enclosures on both sides. Well, the pit was on the south side. I
think it was before you get to that wire gate back there between the enclosures, and then that wire gate
on the south side.

Jeff Lowe (05:20):
Huh. Well, the first time you're around... I'm in Davis right now, otherwise I'd-

Lauren Lowe (05:24):
You're not in Davis. You're in [crosstalk 00:05:25].

Jeff Lowe (05:25):
I mean, Ardmore. Ardmore, not Davis.

Cliff (05:28):
[crosstalk 00:05:28] Davis. But I really just wanted to talk to you about it and let you know. I thought
they were looking for where some animals were buried or something. And that's what I told my
operator. I called him and said, "Didn't you remember saying there was a tiger skull?" He said, "Yeah,"
he said, "there was a tiger skull. I know there was because there was just some [inaudible 00:05:49]." So
I don't know. I know that 'dozer's done. They wanted to say he thought they said, I'm pretty sure it was a
zebra and some other smaller cattle that were [inaudible 00:06:02].

Jeff Lowe (06:02):
Wow. Yeah, that fucker-

Lauren Lowe (06:05):
He's a monster.

Jeff Lowe (06:05):
... he's killed animals out there for so many years. It's hard-

Cliff (06:19):
I didn't know. We didn't know there was anything wrong with it when we did it. We just [crosstalk
00:06:19] and dig me another one, so it's just what we did then.

Jeff Lowe (06:19):
Right.



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Cliff (06:19):
But I remembered you said that they weren't able to find it. I thought, well, maybe I could help you a
little bit or something.

Jeff Lowe (06:28):
We know what they did. They sent their bone specialist out, and he was out there for a half hour, and
he's picking up all these ribs, rib bones. And there's been 500 damn cows dumped back there or more.
And he picked up this rib, and he says, "Look." He says, "If I didn't know that I'm looking at a cow's rib,"
he says, "I'm the bone guy, and I would swear that this was a human rib."

Cliff (06:49):
Really?

Jeff Lowe (06:50):
Yeah. He says, "So, the problem is, we could sift this soil back here for months looking for human
remains, and we'd almost have to test everything that we questioned for DNA, whether it's cow or
human." So, that's why he's saying, "Look, if Joe's convicted on these other things, we're not going to
worry about it. But if the judge gives him a three or a four-year sentence...

Lauren Lowe (07:16):
Then they're going to go after him.

Jeff Lowe (07:16):
"Then they're going to pursue it." Because if they really killed somebody, like [Saf 00:07:20] said, and
then that family deserves some kind of closure.

Cliff (07:25):
You would think, though, that somebody would be looking for somebody missing.

Jeff Lowe (07:29):
Yeah. Well, OSBI went through all of the missing people reports. But what we pointed out to the feds is
that PETA, the animal rights group, PETA is mostly founded in Europe. They're European. So they'll send
people here from Europe to spy on a facility. And maybe there are two people missing in England.

Cliff (07:58):
Yeah, exactly. We might know it.

Jeff Lowe (08:00):
Right.

Cliff (08:06):
Well, like I said, I didn't know anything. I didn't say anything as to any bodies. I thought you was talking
about animals or something that were missing. And [crosstalk 00:08:12].



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Jeff Lowe (08:13):
Well, I appreciate you checking with us, because it could have been a home run if that's what we were
looking for.

Cliff (08:21):
Yeah, I know that he said there were several different kinds of animals in there, so that's what I thought.
I'm pretty sure we can get you pretty [inaudible 00:08:26] for that.

Jeff Lowe (08:27):
All right. Well, I'll talk to the feds, and if they want to pursue that, I'll give you a holler back.

Cliff (08:32):
Well, you've got my number.

Jeff Lowe (08:32):
All right, thanks. All right, bye.




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